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STATE OF MINNESOTA                 2015JUN29 AHII:3 5               DISTRICT COURT

COUNTY OF HENNEPIN                         CITY CLER I<FOURTH JUDICIAL DISTRICT
                                          DEPARTMENT
                                                          . Case Type: Civil Rights


David Concha,                                         Civil File No. _ _ _ _ _ _ __
                             Plaintiff,
        vs.                                         SUMMONS IN A CIVIL ACTION

City of Minneapolis, Joshua
Henninger, Luis Realivasquez, and
Heidi Eisenbeis,
                          Defendants.



TO:     City of Minneapolis
        City Hall, Room 304
        350 South Fifth Street
        Minneapolis, MN 55415

      1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against
you. The Plaintiffs Complaint against you is attached to this summons. Do not
throw these papers away. They are official papers that affect your rights. You
must respond to this lawsuit even though it may not yet be filed with the Court
and there may be no court file number on this summons.
      2. YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR
RIGHTS . You must give or mail to the person who signed this summons a
written response called an Answer within 20 days of the date on which you
received this Summons. You must send a copy of your Answer to the person
who signed this summons to the address below.
       3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written
response to the Plaintiffs Complaint. In your Answer you must state whether
you agree or disagree with each paragraph of the Complaint. If you believe the
Plaintiff should not be given everything asked for in the Complaint, you must
say so in your Answer.

       4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
SUMMONS. If you do not Answer within 20 days, you will lose this case. You
will not get to tell your side of the story, and the Court may decide against you




                                                                              Exhibit A
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and award the Plaintiff everything asked for in the complaint. If you do not
want to contest the claims stated in the complaint, you do not need to respond.
A default judgment can then be entered against you for the relief requested in
the complaint.
      5 . LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If
you do not have a lawyer, the Court Administrator may have information about
places where you can get legal assistance . Even if you cannot get legal help ,
y ou must still provide a written Answer to protect your rights or you may
lose the case .
       6. ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or
be ordered to participate in an alternative dispute resolution process under
Rule 114 of the Minnesota General Rules of Practice. You must still send your
written response to the Complaint even if you expect to use alternative means
of resolving this dispute .




Dated: June 29, 2015

                                          Tim M. Phillips (#390907)
                                          tphillips@j rwilliamslaw.com
                                          Joshua R. Williams (#389118)
                                          jwilliams@jrwilliamslaw.com
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                                          (612) 605-1944 Facsimile

                                          ATTORNEYS FOR PLAINTIFF




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STATE OF MINNESOTA                    2015 JUN 29 PH 2: 15                DISTRICT COURT

COUNTY OF HENNEPIN                             o1'l1R~!Jm+URTH JUDICIAL DISTRICT
                                                                      Case Type: Civil Rights

David Concha,                                          Civil File No. _ _ _ _ __ __
                              Plaintiff,
      vs.                                                       COMPLAINT

City of Minneapolis, Joshua
Henninger, Luis Realivasquez, and                      JURY TRIAL REQUESTED
Heidi Eisenbeis,
                           Defendants.




                                  THE PARTIES

       1.    Plaintiff is an adult male who currently resides and has resided in

Minnesota at all times relevant to this action .

      2.     Defendants Joshua Henninger, Luis Realivasquez, and Heidi

Eisenbeis are adults who at all times relevant to the allegations set forth in this

Complaint were acting under color of state law in their capacities as law

enforcement officers employed by the City of Minneapolis, Minnesota. Plaintiff

is suing them in their individual capacities.

      3.     Defendant City of Minneapolis is a political subdivision of the State

of Minnesota. Minneapolis employed Defendants Henninger, Realivasquez, and

Eisenbeis as police officers at all times relevant to this action . Minneapolis is

sued directly and also , on all relevant claims, on the theories of respondeat

superior or vicarious liability and pursuant to Minn. Stat. § 466 .02 for the




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unlawful conduct of Defendants Henninger, Realivasquez, and Eisenbeis.

Minneapolis is the political subdivision charged with training and supervising

law enforcement officers. Minneapolis has established and implemented, or

delegated the responsibility for establishing and implementing, policies,

practices, procedures, and customs used by law enforcement officers employed

by Minneapolis regarding seizures and the use of force. Minneapolis is

therefore also being sued directly pursuant to Monell v. Dept. of Soc. Svcs. , 436

U.S. 658 (1978).

                          JURISDICTION AND VENUE

      4.    This is an action for monetary and declaratory relief under 42

U .S.C. §§ 1983 and 1988 and federal and state common law. This Court has

jurisdiction over this matter pursuant to Minn . Stat. § 484.01 et seq. and

Minnesota common law. Venue lies properly in Hennepin County, Minnesota

pursuant to Minn. Stat. § 542.01 et seq., as the events giving rise to this action

occurred in Hennepin County.

                           GENERAL ALLEGATIONS

      5.    On May 31, 2014, at or around 2:30a.m ., Plaintiff was walking

with his brother toward Plaintiffs car, which was parked in a parking lot in

downtown Minneapolis.

      6.    Plaintiff and his brother approached and walked slightly past a

street corner where an altercation was beginning between a young white couple

and approximately 10 young black people.




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        7.     As Plaintiff and his brother passed the altercation, Plaintiffs

brother saw virtually all of the young black people punching or kicking the

white couple, both of whom were on the ground.

        8.     Plaintiffs brother told Plaintiff that they should go back and

intervene, but Plaintiff responded that they should continue toward Plaintiff's

car.

        9.     During this short discussion between Plaintiff and his brother,

which took approximately one minute, mounted officers advanced toward

Plaintiff and his brother.

        10.    As Plaintiff turned to look toward the altercation, at least one of the

police officers, Joshua Henninger, took out his department issued Freeze +P

chemical irritant and gave a burst directly into Plaintiffs eyes.

        11 .   Plaintiff's brother helped Plaintiff over to a storefront where they

waited for 10 or 15 minutes until Plaintiff was able to see better.

        12 .   Though Plaintiff and his brother did not know Joshua Henninger's

name or badge number, they decided to report him.

        13.    Plaintiff and his brother approached Joshua Henninger and the

other police officers, but remained on the sidewalk.

        14.    Plaintiff said he was sprayed for no reason and he wanted Joshua

Henninger's badge number.

        15.    Joshua Henninger replied that he had left his badge at home, and

told Plaintiff and his brother to "get the fuck out of here."

        16.    Plaintiff asked again for Joshua Henninger's badge number.

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       17.    Officers walked toward Plaintiff and his brother.

       18.    Joshua Henninger asked whether Plaintiff wanted to be arrested ,

and told Plaintiff and his brother to "get the fuck out of h ere. "

       19.    Plaintiff asked again for Joshua Henninger's badge number.

       20.    Officers walked toward Plaintiff and his brother, and at least one

officer again told Plaintiff and his brother to "get the fuck out of here ."

       21.    Plaintiff and his brother turned to walk away.

       22.    Plaintiff and his brother were no longer facing the officers.

       23 .   Heidi Eisenbeis and Luis Realivasquez then took Plaintiff to the

ground .

       24 .   Specifically, Heidi Eisenbeis jumped on Plaintiff from behind,

pushing Plaintiff face first into a city bench on the sidewalk.

       25 .   Heidi Eisenbeis then kneed Plaintiff in the ribs at least twice .

       26.    Plaintiff stated that he had recently had surgery on his left

shoulder.

       27 .   Luis Realivasquez then handcuffed Plaintiffs hands behind

Plaintiffs back, causing Plaintiff significant pain due to his r ecent surgery.

       28 .   Plaintiff asked that the handcuffs be loosened because of the pain .

      29.     Plaintiff was transported to and booked at the Hennepin County

Jail for obstruction.

      30 .    Plaintiffs brother spent the night in Plaintiffs car, checking with

police officers every hour in an attempt to bail Plaintiff out of jail.

      31.     Plaintiff was released at approximately 11 a. m . on May 3 1, 2014 .

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      32.   Plaintiffs criminal case was resolved via a continuance for

dismissal, also known as a continuance without a plea.

                             COUNT I
 DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
   THE FOURTH AND FOURTEENTH AMENDMENTS - FALSE ARREST
           Against Defendants Realivasquez and Eisenbeis

      33.   Plaintiff restates the allegations contained in the preceding

paragraphs as though fully incorporated herein.

      34.   Defendants Realivasquez and Eisenbeis, acting under color of state

law, arrested Plaintiff without a warrant.

      35.   At the time Defendants Realivasquez and Eisenbeis arrested

Plaintiff without a warrant, it was clearly established that a warrantless arrest

complies with the Fourth Amendment only "if it is supported by probable

cause." Borgman v. Kedley, 646 F.3d 518, 522 (8th Cir. 2011).

      36.   Defendants Realivasquez and Eisenbeis did not have probable

cause, or even arguable probable cause, to arrest Plaintiff.

      37.   The obstruction of legal process statute proscribes a person from

obstructing, hindering, or preventing apprehension of another on a charge or

conviction of a criminal offense. Minn. Stat§ 609.50, subd. 1(1).

      38.   Plaintiff did not obstruct, hinder, or prevent the apprehension of

another on a charge or conviction of a criminal offense.

      39.   Defendants Realivasquez and Eisenbeis, by arresting Plaintiff

without a warrant, caused Plaintiff harm.




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                            COUNT II
 DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
  THE FOURTH AND FOURTEENTH AMENDMENTS - EXCESSIVE FORCE
                      Against All Defendants

         40.    Plaintiff restates the allegations contained in the previous

paragraphs as if fully incorporated herein .

         41.    Defendants Henninger, Realivasquez, and Eisenbeis, acting under

color of state law, used force against Plaintiff.

         42 .   This use of force was excessive because it was not reasonably

necessary under the circumstances.

         43.    Plaintiff was harmed as a direct result of this excessive use of

force.

         44.    At the time of this excessive use of force, it was clearly established

that the Fourth Amendment guarantees the right to be free from unreasonable

seizures, which includes the right to be free from excessive force by police

officers.

         45.    Even if Defendants Realivasquez or Eisenbeis did not use excessive

force against Plaintiff, they witnessed one or more other officers using excessive

force against Plaintiff.

         46.    At the time Defendants used force against Plaintiff, it was clearly

established that police officers have an affirmative duty to intervene on behalf

of people whose Fourth Amendment rights are being violated in their presence

by one or more other officers. Webb v. Hiykel, 713 F.2d 405, 408 (8th Cir.

1983); Putman v. Gerloff, 639 F.2d 415, 423 (8th Cir.1981) .



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       47.    Defendants Realivasquez and Eisenbeis failed to intervene on

Plaintiffs behalf.

       48.    Plaintiff was harmed as a direct result of this failure to intervene .

                              COUNT III
 DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S .C. § 1983 AND
   TliE FIRST AND FOURTEENTH AMENDMENTS - FIRST AMENDMENT
                            RETALIATION
             Against Defendants Realivasquez and Eisenbeis

      49.     Plaintiff restates the allegations contained in the previous

paragraphs as if fully incorporated herein.

       50.    Plaintiffs seizure, which was a false arrest, was in retaliation for

protected activity. See Baribeau v. City of Minneapolis , 596 F. 3d 465 , 481 (8th

Cir. 2010).

      51.     Specifically , Plaintiff asked for an officer's badge number, one or

more government officials arrested him without probable cause or arguable

probable cause, and the arrest was motivated at least in part by Plaintiffs

protected activity.

      52.     At the time of Plaintiffs seizure, it was clearly established that

police officers violate the First Amendment by arresting someone without a

warrant or probable cause (or arguable probable cause) and in retaliation for a

lawful exercise of his or her First Amendment rights .

      53 .    Defendants Realivasquez and Eisenbeis also used force against

Plaintiff, which was excessive, in retaliation for Plaintiffs lawful exercise of his

First Amendment rights .




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          54.   Specifically, Plaintiff asked for an officer's badge number,

Defendants Realivasquez and Eisenbeis used excessive force against him, and

the excessive force was motivated at least in part by Plaintiff's protected

activity.

          55.   At the time of Plaintiff's seizure, it was clearly established that

police officers violate the First Amendment by using excessive force against

someone in retaliation for a lawful exercise of his or her First Amendment

rights.

          56.   Plaintiff was harmed as a direct result of this retaliation by

Defendants Realivasquez and Eisenbeis.

                                   COUNT IV
                             FALSE IMPRISONMENT
                  Against Defendants Realivasquez and Eisenbeis

       57.      Plaintiff restates the preceding paragraphs as though fully stated

herein.

       58.      Defendants Realivasquez and Eisenbeis intentionally restricted

Plaintiff's physical liberty by words or acts.

       59.      Plaintiff was aware of or was harmed by these words or acts of

Defendants Realivasquez and Eisenbeis.

       60.      There was no reasonable means of escape known to Plaintiff.

      61.       Plaintiff's arrest was made without proper legal authority.

      62.       Plaintiff was harmed as a direct result of this false imprisonment

by Defendants Realivasquez and Eisenbeis.




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                                    COUNTV
                                    BATTERY
                              Against All Defendants

       63 .   Plaintiff restates the preceding paragraphs as though fully stated

herein .

       64.    Defendants caused harmful or offensive contact with Plaintiff.

       65.    Plaintiff was harmed as a direct result of Defendants' harmful or

offensive contact with Plaintiff.

                                    COUNT VI
                                    ASSAULT
                              Against All Defendant s

       66.    Plaintiff restates the allegations contained in the preceding

paragraphs as though fully incorporated herein.

      67 .    Defendants acted with the intent to cause apprehension or fear of

immediate offensive contact with Plaintiff.

      68 .    Defendants had the apparent ability to cause the offensive contact.

      69.     Plaintiff had a reasonable apprehension of fear that the immediate

offensive contact would occur.

      70.     Plaintiff was harmed as a direct result of Defendants ' assault.

                                    JURY DEMAND

      71.     Plaintiff demands a jury trial.

                              REQUEST FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that the Court:

      1.      Enter judgment in Plaintiffs favor on his claims against

              Defendants in an amount exceeding $50,000 , including litigation

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       expenses and attorneys' fees, the exact amount to be proven at

       trial;

 2.    Declare that Defendants' conduct, as set forth above, violated 42

       U.S.C. § 1983;

 3.    Award Plaintiff damages to compensate him for the harm he

       suffered as a result of Defendants' unlawful conduct;

 4.    If Defendants remove this case to federal court, award Plaintiff

       punitive damages with respect to his claims under federal law, the

       exact amount to be proven at trial;

 5.    Grant Plaintiff leave to amend this Complaint to include a claim for

       punitive damages, the exact amount to be proven at trial;

 6.    Award Plaintiff reasonable expenses incurred in this litigation,

       including attorney and expert fees, pursuant to 42 U.S .C . § 1988;

 7.    Grant Plaintiff all statutory relief to which he is entitled;

 8.    Grant Plaintiff leave to amend this Complaint to supplement any

       factual deficiencies or otherwise address any pleading deficiencies

       herein ; and

 9.    Grant any other relief the Court deems just and equitable.




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Dated: June 29, 2015

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       ACKNOWLEDGEMENT REQUIRED BY MINN. STAT. § 549.211

      Plaintiff, through undersigned counsel, acknowledges that sanctions,

attorneys ' fees, and witness fees may be imposed under Minn. Stat.§ 549 .211.




Dated: June 29 , 2015

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